 8:06-cr-00099-JFB-FG3             Doc # 99     Filed: 01/29/07      Page 1 of 2 - Page ID # 260




                               UNITED STATES DISTRICT COURT FOR
                                   THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                               )
                                                        )
                                 Plaintiff,             )       8:06CR99
                                                        )
                         vs.                            )       FINAL ORDER OF
                                                        )       FORFEITURE
                                                        )
JESUS TIRADO-MACIEL,                                    )
                                                        )
                                 Defendant.             )


          NOW ON THIS 29th day of January, 2007, this matter comes on before the Court upon the

United States’ Motion for Final Order of Forfeiture and Memorandum Brief. The Court reviews the

record in this case and, being duly advised in the premises, find as follows:

          1. On December 1, 2006, the Court entered a Preliminary Order of Forfeiture pursuant to the

provisions of Title 21, United States Code, Sections 846 and 853, based upon the Defendant's plea

of guilty to Counts I and IV of the Indictment filed herein. By way of said Preliminary Order of

Forfeiture, the Defendant’s interest in $110.00 in United States currency was forfeited to the United

States.

          2. On December 14, 21 and 28, 2006, the United States published in a newspaper of general

circulation notice of this forfeiture and of the intent of the United States to dispose of the property

in accordance with the law, and further notifying all third parties of their right to petition the Court

within the stated period of time for a hearing to adjudicate the validity of their alleged legal

interest(s) in said property. An Affidavit of Publication was filed herein on January 26, 2007 (Filing

No. 97).
 8:06-cr-00099-JFB-FG3          Doc # 99      Filed: 01/29/07      Page 2 of 2 - Page ID # 261




       3. The Court has been advised by the United States no Petitions have been filed. From a

review of the Court file, the Court finds no Petitions have been filed.

       4. The Plaintiff’s Motion for Final Order of Forfeiture should be sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The Plaintiff’s Motion for Final Order of Forfeiture is hereby sustained.

       B. All right, title and interest in and to the subject property, i.e., $110.00 in United States

currency, held by any person or entity, is hereby forever barred and foreclosed.

       C. The subject property, i.e., $110.00 in United States currency, be, and the same hereby is,

forfeited to the United States of America .

       D. The United States Marshal for the District of Nebraska is directed to dispose of said

property in accordance with law.

       DATED this 29th day of January, 2007.

                                                      BY THE COURT:



                                                      s/Joseph F. Bataillon
                                                      JOSEPH F. BATAILLON, CHIEF JUDGE
                                                      United States District Court
